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1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.
                                                           UNITED STATES BANKRUPTCY COURT
                                                               DISTRICT OF CONNECTICUT
                                                                  NEW HAVEN DIVISION


                   In Re:                                                                          §
                                                                                                   §
                   Victoria Marie Dare                                                             §           Case No. 17-30181
                                                                                                   §
                                                                 Debtor                            §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                    02/16/2017 . The undersigned trustee was appointed on 02/16/2017 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $               50,000.00

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                                 0.00
                                                     Bank service fees                                                                       0.00
                                                     Other payments to creditors                                                             0.00
                                                     Non-estate funds paid to 3rd Parties                                                    0.00
                                                     Exemptions paid to the debtor                                                           0.00
                                                     Other payments to the debtor                                                            0.00
                                                                                               1
                                                     Leaving a balance on hand of                                   $               50,000.00

                    The remaining funds are available for distribution.
             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 02/05/2018 and the
      deadline for filing governmental claims was 02/05/2018 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 3,140.24 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 3,140.24 , for a total compensation of $ 3,140.24 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 110.54 , for total expenses of $ 110.54 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 09/25/2018                                     By:/s/George Roumeliotis, Chapter 7 Trustee
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                        Exhibit A
Case No:              17-30181                         AMN            Judge:        Ann M. Nevins                                Trustee Name:                      George Roumeliotis, Chapter 7 Trustee
Case Name:            Victoria Marie Dare                                                                                        Date Filed (f) or Converted (c):   02/16/2017 (f)
                                                                                                                                 341(a) Meeting Date:               04/11/2017
For Period Ending:    09/25/2018                                                                                                 Claims Bar Date:                   02/05/2018


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. 12 Side Hill Road                                                                   300,000.00                       0.00                                                       0.00                        FA
     North Haven Ct 06473-0000 New Haven
  2. Household Items                                                                       6,500.00                       0.00                                                       0.00                        FA
  3. Clothing                                                                              1,000.00                       0.00                                                       0.00                        FA
  4. Jewelry                                                                               1,500.00                       0.00                                                       0.00                        FA
  5. People's Bank Checking                                                                  700.00                       0.00                                                       0.00                        FA
  6. People's Bank Savings                                                                 4,000.00                       0.00                                                       0.00                        FA
  7. People's Bank Checking                                                                4,000.00                       0.00                                                       0.00                        FA
  8. Liberty Bank Savings                                                                    500.00                       0.00                                                       0.00                        FA
  9. Key Bank Stock                                                                          350.00                       0.00                                                       0.00                        FA
 10. Tax Refund                                                                            2,500.00                       0.00                                                       0.00                        FA
     Federal
 11. Geddes V. Tenner XX-XXXXXXX Pending In New Haven                                          0.00                  50,000.00                                                50,000.00                          FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $321,050.00                 $50,000.00                                               $50,000.00                        $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  Case is ready to close.




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RE PROP #            11   --   Claim was resolved through binding arbitration which was approved by the Bankruptcy
                               Court by Order dated 3/28/18 (Document ID 29). Through the arbitration process, the
                               matter was resolved for a $50,000 payment made to the estate. In light of the small                               Exhibit A
                               amount of creditor claims and the anticipated surplus that would exceed her exemption
                               in the claim, the Debtor waived her exemption through an amendment to Schedule C
                               filed on September 24, 2018 (Document ID 34).

Initial Projected Date of Final Report (TFR): 12/31/2018           Current Projected Date of Final Report (TFR): 12/31/2018




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 17-30181                                                                                                Trustee Name: George Roumeliotis, Chapter 7 Trustee                       Exhibit B
      Case Name: Victoria Marie Dare                                                                                          Bank Name: Union Bank
                                                                                                                     Account Number/CD#: XXXXXX3535
                                                                                                                                              Checking
  Taxpayer ID No: XX-XXX2742                                                                                 Blanket Bond (per case limit): $19,960,270.00
For Period Ending: 09/25/2018                                                                                Separate Bond (if applicable):


       1                2                              3                                              4                                                       5                   6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction                Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                            ($)
   07/31/18             11         Nationwide Insurance                      Compromise settlement                                   1142-000                $50,000.00                                $50,000.00
                                   P.O. Box 182166                           amount to resolve personal
                                   Columbus, OH 43218-2166                   injury claim, per Bankruptcy
                                                                             Court Order dated 3/28/18
                                                                             (Doc. ID 29) and Arbitrator's
                                                                             Decision dated July 2, 2018


                                                                                                               COLUMN TOTALS                                 $50,000.00                 $0.00
                                                                                                                     Less: Bank Transfers/CD's                     $0.00                $0.00
                                                                                                               Subtotal                                      $50,000.00                 $0.00
                                                                                                                     Less: Payments to Debtors                     $0.00                $0.00
                                                                                                               Net                                           $50,000.00                 $0.00




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                                                                                                                                                                 Exhibit B
                                                                                            TOTAL OF ALL ACCOUNTS
                                                                                                                                            NET             ACCOUNT
                                                                                                          NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                           XXXXXX3535 - Checking                                              $50,000.00                   $0.00            $50,000.00
                                                                                                              $50,000.00                   $0.00            $50,000.00

                                                                                                        (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                transfers)            to debtors)
                                           Total Allocation Receipts:                          $0.00
                                           Total Net Deposits:                             $50,000.00
                                           Total Gross Receipts:                           $50,000.00




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                                                            Exhibit C

                                               ANALYSIS OF CLAIMS REGISTER

 Case Number: 17-30181                                                                    Date: September 25, 2018

 Debtor Name: Victoria Marie Dare

 Claims Bar Date: 2/5/2018



 Code #     Creditor Name and Address     Claim Class     Notes               Scheduled      Claimed       Allowed
 1          Capital One Bank, N.A.
 300        By American InfoSource, LP    Unsecured       Claim reviewed      $2,313.00      $2,313.70     $2.313.70
 7100       as Agent                                      9/24/18; allow
            PO Box 71083
            Charlotte, NC 28272-1083

            Case Totals                                                       $2,313.00      $2,313.70     $2,313.70


             Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




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                                          TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 17-30181
     Case Name: Victoria Marie Dare
     Trustee Name: George Roumeliotis, Chapter 7 Trustee
                         Balance on hand                                              $                50,000.00

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                          Interim Payments Proposed
                         Reason/Applicant              Total Requested    to Date          Payment
       Trustee Fees: George Roumeliotis               $         3,140.24 $                0.00 $         3,140.24
       Trustee Expenses: George Roumeliotis           $           110.54 $                0.00 $          110.54
       Attorney for Trustee Fees: Gesmonde
       Pietrosimone & Sgrignari LLC                   $        16,666.67 $                0.00 $       16,666.67
       Attorney for Trustee Expenses: Gesmonde
       Pietrosimone & Sgrignari LLC                   $         1,637.23 $                0.00 $         1,637.23
                 Total to be paid for chapter 7 administrative expenses               $                21,554.68
                 Remaining Balance                                                    $                28,445.32


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:




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                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 2,313.07 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
                          Capital One Bank (USA),
     1                    N.A.                       $         2,313.07 $              0.00 $          2,313.07
                 Total to be paid to timely general unsecured creditors               $                2,313.07
                 Remaining Balance                                                    $               26,132.25




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.




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            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                            NONE


              To the extent funds remain after payment in full to all allowed claims, interest will be paid at the
     legal rate of 0.8 % pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $ 34.68 . The
     amounts proposed for payment to each claimant, listed above, shall be increased to include the applicable
     interest.


            The amount of surplus returned to the debtor after payment of all claims and interest is
     $ 26,097.57 .




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